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 5
     Attorney for Defendant
 6   VALERI MYSIN
 7
 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                     IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     THE UNITED STATES OF                           )   2:11-cr-00427 LKK
13   AMERICA,                                       )   2:12-cr-00051 MCE
                                                    )
14                                                  )   STIPULATION AND ORDER TO
                     Plaintiff,                     )   TERMINATE PRETRIAL RELEASE
15   v.                                  )              SUPERVISION
                                         )
16   VALERI MYSIN,                       )
                                         )
17               Defendant.              )
     ____________________________________)
18
19
              Defendant Valeri Mysin returned to the United States from Estonia to face charges in
20
     these matters: He has been on unsecured bail in case no. 2:12-cr-00051 MCE since February
21
     24, 2012 and in case no. 2:11-cr-00427 LKK since January 13, 2012. No violations of his
22
     pretrial release conditions have been filed.
23
              Mr. Mysin has been looking for full time employment since his release, in order to
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     support his wife and his 4 ½ month old child. He has received an offer from AMKO Builders in
25
     Hawaii for employment as a sales representative, which requires temporary residence in Hawaii.
26
     He has been unable to locate comparable employment in this District.
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              At this time the parties request that Mr. Mysin be released from supervision to enable Mr.
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 1   Mysin to take advantage of this employment opportunity. Such release applies to pre-trial
 2   supervision only; the parties are not requesting that the unsecured bond be terminated.
 3            The parties feel that this action is appropriate at this time since Mr. Mysin has been fully
 4   compliant with all conditions of his release and such action is necessary for him to secure
 5   employment. The Court is advised that attorney for the United States in this action, Assistant
 6   United States Attorney Steve Lapham, has been provided information concerning employment
 7   matters and does not object to this action. The Court is further advised that undersigned counsel
 8   has spoken with Mr. Mysin’s pre-trial services officer, Taifa Gaskins. She advises that Mr.
 9   Mysin has done well on pre-trial supervision, with no violations. She also advises that she takes
10   no position on termination of supervision, but defers to the Court.
11            Accordingly, the parties request that the Court adopt the proposed stipulation.
12
     Dated: September 6, 2012                                /s/ John R. Duree, Jr.
13                                                          JOHN R. DUREE, JR.
                                                            Attorney for Valeri Mysin
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15
16   Dated: September 6, 2012                                /s/ Steven Lapham
                                                            STEVE LAPHAM
17                                                          Assistant United States Attorney
18
19                                                  ORDER
20            Good cause appearing and for the reasons stated in the stipulation of the parties, Mr.
21   Mysin is hereby released from his pretrial supervision pursuant to 18 U.S.C. § 3145(a). Such
22   order does not apply to the unsecured bond, which will remain in effect pursuant to its original
23   terms.
24   Dated: September 10, 2012
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27                                                  _____________________________________
                                                    KENDALL J. NEWMAN
28                                                  UNITED STATES MAGISTRATE JUDGE

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